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                                                                           November 2, 2023
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. James M. Wicks, U.S.M.J.
100 Federal Plaza, Courtroom 1020
Central Islip, NY 11722-4438
       Re:     Superb Motors Inc., et al. v. Deo, et al.
               Case No.: 2:23-cv-6188 (JMW)_______

Dear Judge Wicks:

       This office represents Plaintiffs Superb Motors Inc. (“Superb”), Team Auto Sales LLC
(“Team”), and Robert Anthony Urrutia (“Urrutia”) (Superb, Team, and Urrutia collectively
hereinafter the “Superb Plaintiffs”) in the above-referenced case.

        Due to Defendants’ contemptuous conduct and apparent lies, the Superb Plaintiffs
respectfully submit this letter motion1 to request an Order (i) finding the Deo Defendants2 in civil
contempt; (ii) returning the subject vehicles to the Superb Plaintiffs; (iii) awarding Plaintiff
attorneys’ fees; and (iv) issuing appropriate sanctions. When will the Deo Defendants ever learn
to respect the rule of law?

Relevant Factual Background

       On September 29, 2023, the Hon. Orelia E. Merchant, U.S.D.J. (“Judge Merchant”) entered
an Order granting the Superb Plaintiffs’ Order to show cause and entering a preliminary injunction
(hereinafter the “Injunction”). See ECF Docket Entry 55.


1
  The Superb Plaintiffs respectfully request leave of this Court to make the instant request as a
letter motion rather than a formal motion (as required by Local Civil Rule 7.1) in accordance with
Rule 1 of the Federal Rules of Civil Procedure (hereinafter “Rules”), which requires that the Rules
be construed, administered, and employed by the court and the parties to secure the just, speedy,
and inexpensive determination of every action and proceeding. See Fed. R. Civ. P. 1 (emphasis
added). Because the Superb Plaintiffs have previously extensively briefed the underlying motion
which led to the Injunction, they respectfully submit that this Court should grant leave to file the
instant request as a letter motion rather than a formal motion or Order to show cause.
2
  The Deo Defendants consist of Anthony Deo, Sarah Deo, Harry Thomasson, Dwight
Blankenship, Marc Merckling, Michael Laurie, Car Buyers NYC Inc., Gold Coast Cars of Syosset
LLC, Gold Coast Cars of Sunrise LLC, Gold Coast Motors Automotive Group LLC, Gold Coast
Motors of LIC LLC, Gold Coast Motors of Roslyn LLC, Gold Coast Motors of Smithtown LLC,
and UEA Premier Motors Corp.
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       The Injunction could not have been clearer. It provides, inter alia, that:

               3) The following vehicles (“Injuncted Deo Vehicles”) shall Remain
               or otherwise be at Deo Defendants’ Deo Lots:

                       a. 2023 Chevrolet Suburban with a VIN # ending in “8675”;
                       b. 2020 Mercedes-Benz GLE with a VIN # ending in
                       “4078”;
                       c. 2019 Land Rover Range Rover with a VIN # ending in
                       “3297”;
                       d. 2017 Rolls Royce with a VIN # ending in “2728”;
                       e. 2016 Audi A6 with a VIN # ending in “9650”;
                       f. 2016 Audi Q5 with a VIN # ending in 0272.

               4) A Deo Lot only includes:

                       a. 180 Michael Drive, Syosset, NY 11791 (Northshore);
                       b. 189 Sunrise Highway, Amityville, NY 1701
                       ([Sunrise/Gold Coast]).

               5) The term “Remain” means that the subject injuncted vehicle:

                       a. may not leave the geographic area or bounds of the
                       appointed lot;
                       b. may not be sold, transferred, gifted, disposed, destroyed,
                       or otherwise encumbered;
                       c. may not otherwise change legal or equitable title except as
                       ordered by another court of competent jurisdiction;
                       d. may not be driven or otherwise used or maintained on the
                       lot in such a way that would damage the resale value of the
                       vehicle.

               6) No injuncted vehicle may be removed from the appointed lot
               absent this Court’s Order.

                       a. In the event an injuncted vehicle must be moved from its
                       lot due to emergency or any other good cause, the current
                       possessor must inform the Court prior to the removal in
                       writing on the docket and explain any good cause for the
                       movement of the vehicle. The same writing must be
                       electronically served on the other party.

        From the get-go, the Deo Defendants have admittedly failed to comply with the Injunction.
Indeed, on October 3, 2023, the Deo Defendants advised the Court that “the [Northshore Deo Lot]
is a secure location with indoor parking for the cars; the [Sunrise/Gold Coast Deo Lot] is not
presently operating, there are no cars on that lot, it only has outdoor parking, and the location is
not secure enough to leave the cars at the [Sunrise/Gold Coast Deo Lot] at this time while it is
closed.” See ECF Docket Entry 58. The Deo Defendants explained they no longer have access to
the Northshore Deo Lot and requested that the vehicles be kept at Anthony Deo’s home. Id.
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        The Superb Plaintiffs objected to this request, resulting in Judge Merchant referring the
matter to this Court, and a letter motion for clarification has thereafter been filed at this Court’s
request with all the papers submitted by the Superb Plaintiffs and the Deo Defendants. See ECF
Docket Entries 63, 72, and Text Only Order dated October 11, 2023 (“matters related to compliance
with the [the Injunction] are hereby respectfully referred to Magistrate Judge Wicks”). This motion
remains sub judice.

        On October 28, 2023, the Superb Plaintiffs undertook efforts to ascertain the status of the
vehicles the Deo Defendants were required to maintain on the Northshore Deo Lot and/or on the
Sunrise/Gold Coast Deo Lot. The Deo Defendants themselves have stated that the vehicles may
not be kept at the Sunrise/Gold Coast Deo Lot, and the vehicles are not located at the Northshore
Deo Lot as of October 28, 2023. See Declaration of Alex Kikirov (“Kikirov Decl.”) ¶¶ 4-6.

        Similarly, although no permission has been granted to the Deo Defendants to keep the
vehicles at Anthony Deo’s home, the vehicles are not located there either. See Kikirov Decl. ¶¶
7-16. Under the terms of the Injunction, the Deo Defendants were required to “inform the Court
prior to the removal in writing on the docket and explain any good cause for the movement of the
vehicle.” See ECF Docket Entry 55. The Deo Defendants have not done so. As of today, the
Superb Plaintiffs are unaware of the location of the vehicles, let alone whether the resale value of
the vehicles have been damaged as the Injunction was designed to prevent.

The Court Should Find the Deo Defendants in Contempt & Issue Appropriate Sanctions

       “[C]ourts have inherent power to enforce compliance with their lawful orders through civil
contempt,” Spallone v. United States, 493 U.S. 265, 276 (1990) (quotation marks omitted), which
may be imposed for failure to comply with an order of the court if that order is clear and
unambiguous, the proof of noncompliance is clear and convincing, and the contemnor has not been
reasonably diligent in attempting to comply with the order. See E.E.O.C. v. Local 638, 81 F.3d
1162, 1171 (2d Cir. 1996).

       For a court order to be clear and unambiguous, it must leave no uncertainty in the minds
of those to whom it is addressed. See Eros Entertainment, Inc. v. Melody Spot, L.L.C., No. 99-
CIV.-1157 (SJ), 2005 WL 4655385 at 5 (E.D.N.Y. Oct. 11, 2005) (quoting Hess v. N.J. Transit
Rail Operations, Inc., 846 F.2d 114 (2d. Cir. 1988)). A “clear and unambiguous” order is one that
is “specific and definite enough to apprise those within its scope of the conduct that is being
proscribed.” See Independent Living Aids, Inc. v. Maxi-Aids, Inc., 349 F.Supp.2d 509 (E.D.N.Y.
2004) (citations omitted).

        Similarly, “[t]o find a person in criminal contempt, the evidence must show beyond a
reasonable doubt that: ‘(1) the court entered a reasonably specific order; (2) defendant knew of
that order; (3) defendant violated that order; and (4) his violation was willful.’” Dvorkin v. N.Y.-
Presbyterian Hosp., No. 10-CV-03680 (GBD), 2011 WL 280801, at *2 (S.D.N.Y. Jan. 19, 2011)
(quoting United States v. Cutler, 58 F.3d 825, 834 (2d Cir.1995)).

        A civil contempt sanction serves “dual purposes: securing future compliance with court
orders and compensating the party that has been wronged.” S. New England Tel. Co. v. Global
NAPs Inc., 624 F.3d 123, 146 (2d Cir. 2010) (internal quotation marks and alterations omitted);
see also Badgley v. Santacroce, 800 F.2d 33, 36 (2d Cir. 1986) (“The purpose of civil contempt,
broadly stated, is to compel a reluctant party to do what a court requires of him.”).

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        Criminal contempt, however, “is punitive in nature, and seeks to vindicate the authority
of the court.” A.V. By Versace, Inc. v. Gianni Versace S.p.A., 446 F.Supp.2d 252, 258 (S.D.N.Y.
2006); see also Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821, 828 (1994).

        Here, there is no question that this Court entered a clear and unambiguous Order requiring
the Deo Defendants to have the vehicles “Remain” on one of the Deo Lots, such that they: (a) may
not leave the geographic area or bounds of the appointed lot; (b) may not be sold, transferred,
gifted, disposed, destroyed, or otherwise encumbered; (c) may not otherwise change legal or
equitable title except as ordered by another court of competent jurisdiction; (d) may not be driven
or otherwise used or maintained on the lot in such a way that would damage the resale value of the
vehicle. It is apparent that the Deo Defendants have chosen to boldly ignore the Injunction.

         Notably, despite being given an opportunity to do so, the Deo Defendants have not
provided a sworn declaration certifying compliance with the Injunction. Instead, they submitted
a declaration demonstrating that they are not in compliance with the Injunction. To add insult to
injury, their sworn statement that the vehicles are located at Anthony Deo’s home is not true. Their
conduct is therefore contemptuous. It is similarly abundantly evident that the Defendants have
not been reasonably diligent in attempting to comply with the Injunction; on the contrary, they are
actively and purposefully repeatedly violating the Injunction.

        Based on the foregoing, this Court should make a finding of contempt and issue appropriate
sanctions as discussed below. Setting aside Defendants’ direct violation of this Court’s Order,
under traditional principles of equity practice, courts have long imposed civil contempt sanctions
to coerce the defendant into compliance with an injunction or compensate the complainant for
losses stemming from the defendant’s noncompliance with an injunction.” See Taggart v.
Lorenzen, 139 S. Ct. 1795, 1801 (2019) (internal quotation marks and citation omitted); see also
Weitzman v. Stein, 98 F.3d 717, 719 (2d Cir. 1996); Eros Entertainment, Inc., 2005 WL 4655385
at 6; SD Protection, Inc. v. Del Rio, 587 F. Supp. 2d 429, 434 (E.D.N.Y. 2008) (holding that the
purpose of civil contempt is not to punish the contemnor but to compel its compliance and/or
compensate the complaining party for its losses).

        In cases where, as here, the civil contempt order is for coercive compliance, the court has
broad discretion to fashion an appropriate damage award, which is typically computed in relation
to the amount of time that passes during which the party fails to comply. See Eros Entertainment,
Inc., 2005 WL 4655385 at 6. The amount of the fine for noncompliance with a court order “is left
to the informed discretion of the district court[.]” See N.Y. State Nat. Org. for Women v. Terry,
886 F.2d 1339, 1353 (2d Cir. 1989). When setting the fine, courts consider “the character and
magnitude of the harm threatened by continued contumacy,” “the probable effectiveness of any
suggested sanction” in achieving compliance, and the contemnor’s financial resources. See
Paramedics Electromedicina Comercial, Ltda v. GE Med. Sys. Info. Techs., Inc., 369 F.3d 645,
658 (2d Cir. 2004) (quotation marks omitted).

       There is thus no question that a clear and unambiguous Order exists, and the plain terms of
this Court’s orders do not reflect any “uncertainty in the minds of those to whom it is addressed.”
See King v. Allied Vision, Ltd., 65 F.3d 1051, 1058 (2d Cir. 1995). There is thus no doubt that
the Deo Defendants knew they were violating the Preliminary Injunction when they failed to
maintain the vehicles on the Northshore Deo Lot and now fail to keep them at Deo’s residence.



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        Moreover, an appropriate fine should be issued as a sanction. Alternatively, sanctions
would be appropriate under the Court’s inherent power because the Deo Defendants’ actions
violating the Order were intentionally improper. See Mahoney v. Yamaha Motor Corp. U.S.A.,
290 F.R.D. 363, 367 (E.D.N.Y. 2013) (The exercise of such inherent power, “requires the [movant]
to present ‘clear evidence that the challenged actions are entirely without color, and [are taken] for
reasons of harassment or delay or for other improper purposes’”). Regardless of the type or amount
(if any) of sanctions imposed, the district court also “may award appropriate attorney fees and
costs to a victim of contempt.” See Weitzman, 98 F.3d at 719. “When deciding whether to award
fees, courts have focused on the ‘willfulness of the contemnor’s misconduct.’” Id.; see also Vuitton
et Fils, 592 F.2d at 130 (“[l]t is appropriate for the court ... to award the reasonable costs of
prosecuting the contempt, including attorney’s fees, if the violation of the decree is found to have
been willful”).

        While it remains an open question whether a finding of willfulness is required to award
fees, see Jacobs v. Citibank, N.A., 318 Fed. Appx. 3, 5 n.3 (2d Cir. 2008), courts have held that,
notwithstanding, although willfulness “may not necessarily be a prerequisite to an award of fees
and costs, a finding of willfulness strongly supports granting them.” See Weitzman, 98 F.3d at
719. To survive review after finding willfulness, a district court “would need to articulate
persuasive grounds for any denial of compensation for the reasonable legal costs of the victim of
contempt.” Id.

        Here, there exists support for all forms of sanctions, including further injunctive relief
requiring the return of the vehicles, incarceration, coercive sanctions, and attorneys’ fees and costs.
Further, a coercive sanction of $5,000.00 per day should be issued until the vehicles are returned.
The Deo Defendants should also be required to pay a monetary fine of $10,000.00 to the Superb
Plaintiff. Moreover, Plaintiff’s attorneys’ fees should be awarded for the instant and prior
applications.

       Finally, based on Defendants’ blatant disregard for this Court’s Orders through their
repeated violations of this Court’s Orders, punitive measures are warranted. Accordingly, the
Court should direct the United States Marshals Service to arrest individuals defendants, Anthony
Deo, Harry Thomasson, Dwight Blankenship, Marc Merckling, and Michael Laurie until further
order of this Court.3 See CE Intl. Resources Holdings LLC v S.A. Mins., Ltd., 2013 U.S. Dist
LEXIS 21798 (S.D.N.Y. Jan. 24, 2013); see also Labarbera v. Gulgar Trucking, 2020 U.S. Dist.
LEXIS 21810 (E.D.N.Y. Feb. 4, 2020); Plaza Motors of Brooklyn, Inc. v. Rivera, E.D.N.Y. Case
No. 19-cv-06336 (LDH) (RLM), July 14, 2022 Text Order.

        Accordingly, Superb Plaintiffs’ letter motion for civil and criminal contempt, further
injunctive relief, fines, as well as attorneys’ fees and costs should be granted.

       The Superb Plaintiffs thanks this honorable Court for its time and attention to this case,
and further respectfully submit that the instant motion is filed without bundling due to the
emergency nature of same.




3
 Superb Plaintiffs refrain from seeking the arrest of individual Defendant Sarah Deo at this time
because she is the mother of a newborn.
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Dated: Lake Success, New York
       November 2, 2023            Respectfully submitted,

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